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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          NORTHERN DIVISION AT COVINGTON



LUANNA GROTE, ADMINISTRATOR OF
ESTATE OF BRADLEY GROTE,                               Case No.: 2:20-CV-101 WOB-CJS

                   Plaintiff,
                                                         ELECTRONICALLY FILED
       v.

KENTON COUNTY, et al.,

                   Defendants.



              KENTON COUNTY DEFENDANTS’ REPLY MEMORANDUM
                      SUPPORTING SUMMARY JUDGMENT
                          __________________________


       Come now Kenton County, Kentucky, former Jailer Terry Carl, Deputies Brian Jennings,

Alexander Brown, Jason Russell and Aaron Branstutter, and Clerk Sarah Bell, each in their

respective individual capacities, and file their reply memorandum in support of summary judgment.

       I.      INTRODUCTION

       To overcome her burden on summary judgment, Plaintiff must show not only that the

individual deputies violated the Fourteenth Amendment but that they also violated clearly

established Fourteenth Amendment law. That requires her to show that the illegality of deputies’

actions in July 2019 was, at that time, “beyond debate.” D.C. v. Wesby, 138 S. Ct. 577, 589, 199 L.

Ed. 2d 453 (2018). That is not remotely so on these facts.

       Start with what ought to be an end to the matter. No case holdings cited by Plaintiff support

the objective component of the deliberate indifference standard. None. And she did not even attempt

to distinguish Spears v. Ruth, 589 F.3d 249 (6th Cir. 2009). In each of the cases Plaintiff cited, the
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objective component was either conceded or assumed to be met, without any factual analysis into

when the objective component would not be met in drug overdose cases resulting in death. Plaintiff’s

response makes the same assumption, but erroneously.

       Like the officer in Spears, who knew that decedent had smoked crack and had observed

unusual behavior, none of the KCDC staff knew more than LPN Brand – that Grote disclosed taking

a half gram of methamphetamine four (4) hours prior and was exhibiting symptoms of withdrawal.

KCDC Defendants maintain, based on these unrefuted facts, that Grote’s medical needs were not

sufficiently serious and obvious until 5:35 p.m., when Grote was observed unresponsive and seizing

in cell B4. Upon seeing these worsening changes, Deputies immediately called a signal six medical

emergency and LPN Brand was summoned to return to the cell. She assessed Grote and determined

that a transport was necessary. Deputies arranged it without delay. These straightforward facts

corroborated by mechanical video and audio evidence should end this dispute. But there is more.

       Consider the reality that contraband in correctional settings is not new. Overton v. Bazzetta,

539 U.S. 126, 134 (2003). Yet Plaintiff has not identified a single decision holding that deputies’

failure to detect body stuffing in the face of repeated denials by the inmate of having recently

ingested potentially lethal amounts of methamphetamine and denying possessing contraband exposes

them to liability for a lethal overdose. The deputies’ screening intake process in this case was by-

the-book, and medical determined that Grote was withdrawing. In hindsight, we know there was

more to the story Grote told. But even so, Plaintiff cannot point to a single incident, other than this

case, to suggest that any other inmate has died from body stuffing, or that KCDC has not diligently

collaborated with its medical authority to recognize medical emergencies and to prevent these type

incidents.




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        The record establishes, convincingly, that neither the deputies nor Clerk Bell were aware that

Grote was suffering from a serious medical condition resulting from body stuffing

methamphetamine drugs. Contrary to Plaintiff’s assertion in her response, -pg.1-, that Grote had

advised staff that he had swallowed methamphetamines, there is no evidence whatsoever that he

advised either medical or KCDC staff what he had done. Instead, as heard on BWC audio during the

first medical assessment, he responded to LPN Brand's question … how much did you "take?" He

answered … “1/2 gram” … at “twelve.” It is simply not factually accurate that any deputy or clerk

ignored Grote’s serious medical needs from body stuffing a lethal dose of methamphetamine.

Expectedly, this assertion on -pg. 1- is not supported by a cite to the record. The material facts for which

there is unrebutted record support is that Dep. Brown acted appropriately by notifying medical staff

about what he observed during intake, and again when he was made aware of Grote’s worsening

condition in cell B4. During the interim period of watches, the deputies were entitled to rely on the

medical assessments and opinions of LPN Brand until noticing Grote having seizures.

        Before turning to the subjective component of deliberate indifference and qualified immunity, a

few words are in order about Plaintiff’s response to orient this reply. Some of Plaintiff’s factual

assertions are unsupported by the record. Each of them is included in an endnote.i For efficiency, if the

unsupported assertion is material or could potentially create a genuine dispute if assumed to be true, it

will be addressed in the body of this reply in addition to being called out in the endnote. Otherwise, the

endnote preserves the objectionable liberties taken by Plaintiff in her response.

        II.     SUMMARY JUDGMENT IS APPROPRIATE

                A. Federal Claims

        The subjective component of deliberate indifference requires analysis of whether the

individuals acted “recklessly in the face of an unjustifiably high risk” that is either “known or so




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obvious that it should be known.” Brawner v. Scott County, 14 F.4th 585, 596–97 (6th Cir. 2021);

see also Greene v. Crawford County, 22 F.4th 593, 606 (6th Cir. 2022). In this case, there is no

record evidence supporting the claim that any deputy or Clerk Bell ignored Grote’s serious medical

needs. Nor was the risk so obvious that it should have been known until Grote became unresponsive.

        First, Jailer Carl had no interaction with Grote. Second, Deputy Brown and Clerk Bell screened

Grote accurately under 501 KAR 3:090 § 1, subsections (7) and (9). Each accurately recorded what

Grote reported about recent drug use and contraband. Thereafter, Deputy Brown notified medical staff

about his observations during intake, and again when Grote’s condition noticeably worsened in cell B4.

In the interim, each deputy that interacted with Grote relied on LPN Brand’s assessment, diagnosis and

decision to implement a detox watch, as the law entitles them to do. That is not deliberate indifference.

                                             ○ Terry Carl

        It is well established that “[p]ersons sued in their individual capacities under § 1983 can be

held liable based only on their own unconstitutional behavior.” Heyerman v. Cty. of Calhoun, 680

F.3d 642, 647 (6th Cir. 2012). They cannot be held liable under a theory of respondeat superior;

rather, they must have “either encouraged the specific incident of misconduct or in some other way

directly participated in it.” Id.

        Carl had no personal contact with Grote while he was at KCDC. He was at home when he

learned that Grote had been transported, Carl p. 23, and went to the hospital to meet Grote’s family.

Id., at 25. As the popularly elected jailer, he relied on SHP, the contracted medical authority, to make

all medical decisions regarding KCDC inmates, id. at 48-9, and his staff was trained to defer to their

judgment. Id. at 50-1.

         Plaintiff argues that Carl was deliberately indifferent by delegating the jail’s medical care

 to SHP. Plaintiff’s argument fails for several reasons. First, Kentucky law requires jails such as




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 KCDC to contract with a healthcare provider licensed in Kentucky to provide medical care for inmates.

 501 KAR 3:090 § 1(1). Moreover, that regulation specifically prohibits jailers and his deputies from

 restricting the health care staff “in the performance of their duties except to adhere to the jail’s security

 requirements.” 501 KAR 3:090 § 1(3). To the extent that Plaintiff argues that the policy decision to

 contract with SHP is somehow itself facially unconstitutional, such a theory would not apply to Carl

 in his individual capacity; it would apply to Kenton County. Moreover, it has been rejected by the

 Sixth Circuit. Winkler v. Madison Cnty., 893 F3d 877 (6th Cir. 2009); see also Hamilton v. Pike

 Cty., 2013 WL 529936 (E.D. Ky. Feb. 11, 2013).

        The plaintiff in Hamilton made arguments nearly identical to those Plaintiff makes here. The

 plaintiff there suffered from a variety of medical problems when he was booked into the county jail.

 That jail also contracted with SHP to provide medical care to inmates. SHP medical staff failed to

 recognize that the plaintiff was extremely ill, and he was hospitalized with acute renal failure, deep

 venous thrombosis, and sepsis, among other conditions, requiring multiple surgeries which left him

 confined to a wheelchair. Id. at *3-4. The plaintiff sued the jailer, alleging that he was deliberately

 indifferent by relying on SHP to treat the plaintiff, by failing to supervise SHP staff, and by failing to

 override SHP’s medical decisions. Id. at *6-7. The district court rejected all these arguments, holding

 that the jailer “reasonably relied on the assumption that the medical staff would attend the [the

 plaintiff’s] medical needs.” Id. at *7. The court also noted that the jailer’s reliance was reasonable

 because there was no history of complaints about the medical staff and that Kentucky law prohibits

 jail staff from interfering with the medical staff’s performance of their duties. Id.

        Capt. Smith testified in this case as Kenton County’s 30(b)(6) designee. See R. 91-1, 91-2

 (Kenton County 30(b)(6) designations and answers to interrogatories). He made clear that each

 variety of inmates’ medical needs (whether to assess an inmate who has overdosed or who may be




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 detoxing or suffering a seizure or a cardiac event) are referred to medical staff. Capt. Trey Smith,

 p. 39, 48, 49, 54, 62, 64, 73, 74. SHP decides what care is medically necessary, and whether to

 transport an inmate to the hospital. Id. at 40. If, however, medical staff is not immediately

 present, the Shift Commander, in this case Sgt. Russell, has authority to call 911. Sgt. Russell, p.

 76. Deferring to medical staff when they are present and contacting the Shift Commander when

 medical staff is not immediately present, is how deputies are trained. See PNP 4.5.3, Section I (4);

 Capt. Smith, at 40. Moreover, Russell did not testify that he would never call 911 unless medical

 told him to. Russell at 76.

                 Q. Is it your testimony that you would never have called 911 unless a
                 medical staff person told you to do it?

                 A.    Never in that situation or any situation?

                 Q.    That situation.

                 A.    That situation, no, medical was doing their job.

                 Q. Did you have authority in June, July 2019 to call 911 regardless of
                whether or not medical told you to do it?

                 A.    Yeah. Russell, p. 76.

        This line of questioning continues, through -p.79-, finally ending with Russell saying that

 he would have called 911 after seeing Grote having a seizure in cell B4, even if medical had not

 requested him to do so. Plaintiff’s insistence to the contrary is unfounded.

        As was the case in Hamilton, there is no evidence of a history of complaints about the jail

medical staff. In fact, Grote is the only KCDC inmate to die from an overdose where it has been

alleged to be from lack of medical care. Captain Smith, at 82-3, 86-7. This single incident is

insufficient to show that Carl ignored a substantial risk of harm to any KCDC inmate. Even

coupled with the fact that multiple overdoses not resulting in death have occurred at KCDC during


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some deputies’ tenure, that is insufficient that fact lacks context that would allow an inference that

a problem with KCDC medical services was so severe that Carl “must have known” that inmates

were at a substantial risk of serious harm from KCDC medical services policy. See Farmer v.

Brennan, 511 U.S. 825, 842–43 (1994). In fact, the opposite inference is more reasonable since

there is record evidence of only one death (Grote) amid multiple overdose incidents, and no

evidence of any injuries from any less medically serious overdoses. See R. 91-1, 91-2 supra. So,

the evidence and all reasonable inferences therefrom is that Jailer Carl knew the importance of

deputies’ properly screening prisoners about recent drug use and contraband at intake, that he

trained them how best to perform those duties, that it was important to contact medical staff if

concerns arose, and that his medical services policy was preventing deaths and injury to inmates

who experience overdose or withdrawal while in custody.

        Therefore, Carl is entitled to qualified immunity on Plaintiff’s claim of deliberate

indifference against him personally.


                                        ○ Deputies and Clerk

         The law cited above applies equally to the deputies and clerk — they too were entitled to rely

 on SHP staff to make medical decisions regarding Grote. And, as noted, Kentucky regulations

 prohibit jail staff from interfering with medical staff unless safety is implicated. This same authority

 also defeats Plaintiff’s argument that deputies had any duty to monitor Grote beyond visual

 observations while he was in cell B4. They did what LPN had asked them to do, which was to keep

 an eye on Grote.

         And what about those liberties in Plaintiff’s factual account to support her suggestion that

 inconsistencies in the record are genuine and material. Each his objectionable but easily addressed.

 To name a few, LPN Brand requested a watch every 10-15 minutes, not strictly every ten, as



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 Plaintiff asserts. Brand, p. 46-7, 91. Dep. Brown did not testify that Grote could not be

 photographed or fingerprinted. Instead, he described why he will sometimes wait until later in the

 shift when inmates are suspected to be experiencing withdrawal. Brown, p. 15-16. Brown did not

 testify that Grote’s agitation and shaking were worsening during booking, only that his sweating

 progressed during booking. Id. at 10. Plaintiff’s assertion that the only documentation of contact

 with Grote after he was escorted to cell B4 is the security patrol log is also inaccurate. Overhead

 video surveillance of the Mile is available throughout and BWC video exists for the signal six

 medical emergency.

         The overhead video is the best evidence of when the visual assessments occurred. Dep.

 Brown testified that he observed Grote sitting up when he first visually assessed him and moved

 the curtain covering the cell window aside. This can be seen at 4:50-51 in the video. It is not in

 dispute that BWC shows Grote lying down during the initial medical assessment inside the cell at

 4:39-4:43. It is also uncontroverted that Russell was not in booking when Brown made the

 decision to suspend Grote’s booking, so he relied on Brown's discretion that it be done. As such,

 Russell did not testify that he personally did not think that Grote’s condition prevented him from

 being photographed. To be sure, he did not see him until after the signal six was called.

         The liberties taken with the evidentiary record cannot be ignored, but getting more to the

 essential point, it is not clearly established that deputies violate a prisoner’s rights if they do not

 call 911 before medical staff, who is immediately present, deems it necessary. More generally,

 Plaintiff does not cite any circuit court case allowing a prisoner to sue for harm suffered because

 of his own illegal conduct that he repeatedly conceals from everyone able and interested to save

 his life. If ever a claim was designed for qualified immunity, this is it, as Plaintiff has not

 identified any court in the country, anytime anywhere, that has recognized such a claim. The point




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 of qualified immunity is to protect “all but the plainly incompetent” so “long as their actions could

 reasonably have been thought consistent with” the U.S. Constitution. Anderson v. Creighton, 483

 U.S. 635, 638–39 (1987) (quotation omitted). The evidence in this case, unrefuted by genuine

 factual disputes, establishes that none of the individual deputies or clerk were aware that Grote

 was suffering from a serious medical condition before he started seizing, and they acted

 appropriately once they were made so aware. See Weaver v. Shadoan, 340 F.3d 398 (6th Cir.

 2003) (finding that it can hardly be said that the Officers acted with deliberate indifference).

        In sum, after addressing some of the liberties taken by Plaintiff in her responsive pleading,

there is no genuine dispute of any material fact as to whether any deputy or Clerk Bell was

deliberately indifferent to Grote’s serious medical needs. See Vittetoe v. Blount Cnty., Tennessee,

861 F. App’x 843, 849 (6th Cir. 2021) (“[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary judgment;

the requirement is that there be no genuine issue of material fact.”) (quoting Scott v. Harris, 550

U.S. 372, 380, 127 S.Ct. 1769, 167 L.Ed.2d 686 (2007).

                ○       Observation form and documenting watches

        Unsurprisingly, this subsection of the reply must begin where we just ended – addressing

Plaintiff’s avoidance of the factual record. In July 2019, observation forms were used only for

suicide watches, not detox watches, or any other watches requested by medical. See 30 (b)(6)

Designee Capt. Smith at 50-1, 84-5. In addition to Captain Smith’s testimony, the entirety of Kenton

County’s Suicide Watch Program, PNP 3.4.8, is attached as Exhibit 1 hereto. It provides needed

context to the excerpted form that Plaintiff selectively entered into the record by itself. The Suicide

Watch Program policy includes the excerpted form. But that form was not in use for detox watches

in 2019. Plaintiff's insistence on revisiting that topic with retired jailer Carl was objectionable under



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 the parties’ agreed upon conditions of deposing him out-of-time. R. 93 (agreed upon conditions),

 Carl, p. 32-8, 65-7 (the record preserves the objection and grounds for it).

        Expectedly, Carl testified that he was confused and unsure about specific forms in use, and

 policies in effect, in 2019, since he retired in January 2021, and so much time had passed between

 July 2019, and when he was eventually deposed. Id. Plaintiff has taken further liberties with the

 record regarding another 30(b)(6) designated topic in the context of Carl’s testimony. Carl did not

 testify that more records or video than what exists in this case was required by KCDC policy or

 Department of Corrections standards. What was required to be recorded, and how it was recorded,

 was covered in the 30(b)(6) topics and Captain Smith’s testimony. Specifically, Carl testified that

 BWC are required during watches only if an incident occurs (e.g., like a signal 6), but that most

 generally only overhead cameras document when detox watches occur. Carl, p. 32-3. He did not

 testify that deputies should have been recording their watches on the Mile using BWC. Id. 59-67.

 Similarly, Sgt. Russell did not testify that an observation form should have been used on Grote’s cell

 door. The predicate of the deposition question was "if [the form] was in use in 2019 ...", then that is

 what would happen. Russell at 64, 92.

        Kenton County’s designee Captain Smith testified — and PNP 3.4.8 and overhead video of

 the Mile establishes — that there was no observation form in use in 2019, except for suicide

 watches. It is plainly visible in the video that no form was on cell B4. It was not until May 2020,

 when Col. Fields implemented different procedures for suspended bookings and observations that

 included an observation form for all type watches. Capt. Smith at 50-1.

        Lastly, in addition to distorting the record far beyond just applying it in the light most favorable

 to her, there is a causation problem with Plaintiff’s argument. She offers no explanation why it would

 have made a difference if deputies, instead of relying on overhead surveillance to document watches,




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 had used a form to record those watches for that same period. See Horn by Parks v. Madison Cnty.

 Fiscal Ct., 22 F.3d 653, 659 (6th Cir. 1994). No reasonable juror could find that the manner of

 recording the watches caused any harm relative to the alternative of completing a form.

                ○       Frequency of watches

        Missing the twenty-minute observation interval required by 501 KAR 3:060 by a mere

 minute was not a mistake of constitutional proportions. Similarly, missing LPN Brand’s watch

 interval only once by six (6) minutes did not violate Mr. Grote’s constitutional rights. The video and

 timeline show that deputies were moving other inmates housed in cells adjacent to B4 between 5:18

 and 5:33 p.m. There is no evidence or reasonable inference that a deputy or clerk recklessly

 disregarded Grote’s worsening condition.

        Here, as in Winkler supra, the deputies followed the instructions of the medical staff to

 observe a suspected detoxing inmate and report any observable change in his condition. It is not

 clearly established that missing a single twenty-minute observation period by one minute could

 violate Grote’s constitutional rights under the Fourteenth Amendment. And failing to strictly follow

 an internal policy like LPN Brand’s shorter watch period of 10-15 minutes is not a per se

 constitutional violation. Id. (nurses failure to strictly adhere to internal policy was not deliberate

 indifference); see also Meier v. County of Presque Isle, 376 Fed. Appx. 524 (6th Cir. 2010) (Court

 held that it was unclear if officer was aware of an internal policy, but even if he was aware of the

 policy and failed to comply, his failure is not a constitutional violation (citing Pyles v. Raisor, 60

 F.3d 1211, 1215 (6th Cir. 1995)). The law governing the asserted constitutional violation in this case

 was therefore not clearly established in July 2019.

                ○       Urine test to detect drugs




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        Carl testified that a urine sample, had it been collected from Grote and tested by medical,

 would have shown the presence of methamphetamine. However, the test would not have shown the

 quantity. Carl, at 55-7. So, the test that Plaintiff urges as a constitutional standard would have told

 only part of the story, just as Grote himself had done throughout. In other words, the test would have

 verified only what Grote had already disclosed — that he had taken methamphetamine. Critically, it

 would not have revealed what Grote was concealing, that he had body stuffed a lethal quantity of

 drugs in a plastic baggie that the medical examiner documented had spilled its toxic contents into

 Grote’s blood stream.

        Meier v. County of Presque Isle (6th Cir. 2010) supra is again instructive. In Meier, after

 being arrested for driving under the influence, Paul Meier was transferred to the Presque Isle County

 Jail. While there, a deputy administered a breath-analysis test. Meier’s breath alcohol concentration

 level was .31. During booking, a clerk administered the medical screening and an alcohol

 questionnaire. She contacted medical staff because of the high alcohol level. Medical confirmed that

 Meier could walk, speak, and continue a conversation. Id. at 526. Medical staff instructed corrections

 staff to “keep an eye on” Meier. After watching Meier for a few hours, another corrections officer

 observed him lying in a pool of blood, unresponsive. Id. at 527.

        Meier’s spouse filed a complaint under 42 U.S.C. § 1983. The complaint alleged that the

 arresting officer demonstrated deliberate indifference to serious medical needs when he failed to

 transport him to a medical facility after registering an alcohol concentration greater than .30. Id. The

 County Sheriff’s internal policy required the arresting officer to transport a suspect with an alcohol

 concentration of .30 or higher to a medical facility. Id. The court held that it was unclear if the

 arresting officer was aware of the policy, but even if he was aware of the policy and failed to

 comply, “his failure is not a per se constitutional violation.” Id. at 529. The court focused on Meier’s




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 federal constitutional rights and found that the arresting officer did not recklessly disregard Meier’s

 medical needs. Id. The court further found that the corrections officer who initially screened Meier

 called medical staff, and did what they asked, which was to “keep an eye on” Meier. The court

 concluded that no jury could reasonably believe that a defendant was deliberately indifferent toward

 Meier’s serious medical needs, even if the policy was not followed.

        Meier’s final claim, like here, was against Presque Isle County for failure to train jail staff.

 However, that claim failed too since a county cannot be liable when none of the individual

 defendants have committed a constitutional violation.

                                           ○ Kenton County


           As noted above, plaintiff’s first argument as to Kenton County’s alleged deliberate

  indifference—that it abandoned its responsibilities by contracting with SHP to provide medical

  care at the KCDC—has been rejected by the Sixth Circuit. Winkler, 893 F.3d 877, 901 (6th Cir.

  2018).

           Plaintiff next argues that Kenton County may be liable on a failure to train theory. The

  standard for this theory was outlined in Defendants’ initial memorandum in support of summary

  judgment. It is unnecessary to restate it here. Nor is it necessary to reargue the reasons to strike

  the report and opinions of Victor Lofgreen, Ph.D., R. 118, other than to reiterate that “[m]ere

  allegations that a [defendant] was improperly trained or that an injury could have been avoided

  with better training are insufficient to prove liability.” Miller v. Calhoun Cty., 408 F.3d 803, 816

  (6th Cir. 2005).2

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          Plaintiff’s response to the Daubert challenge defeats itself to the extent that she
  acknowledges that (1) assumed facts must find some support in the record, (2) the opinion must
  amount to more than mere speculation and (3) it must not embrace an ultimate legal conclusion.
  Mr. Lofgreen’s opinions, as discussed and argued in R. 118, should be excluded for each of the
  above reasons, and others. Plaintiff’s response (R. 128) provides only a superficial restatement of
  the law without applying it the shortcomings in Mr. Lofgreen’s “expert” opinions. See R. 128.


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         Rather, a plaintiff must demonstrate “such a consistent and pervasive pattern of

  unconstitutional” conduct, “evidencing a failure to train,” that it amounted to the municipality

  being deliberately indifferent to the rights of its citizens. Berry v. City of Detroit, 25 F.3d 1342,

  1346 (6th Cir. 1994). And the plaintiff must prove that that the inadequate training “is closely related

  to” or “actually caused” the plaintiff’s injury. Id.

         Plaintiff has offered no evidence that supports this claim. She has not provided any

  evidence that the content or frequency of training provided is less or different than what the law

  requires. Instead, the argument about a lack of medical training is, in effect, repetitive of her

  theory that Kenton County may be held deliberately indifferent for contracting with SHP to

  provide medical care at the jail or for not questioning SHP’s decisions. Further, Plaintiff has not

  shown “that there was a history of similar incidents” at KCDC, nothing to show that the County

  was on notice, and nothing to show that the County’s failure to take meliorative action was

  deliberate. Miller, 408 F.3d at 816. See D’Ambrosio v. Marino, 747 F.3d 378, 388 (6th Cir. 2014)

  (recognizing that a county’s knowledge of only three prior instances of constitutional violations

  by its prosecutors could not establish notice of habitually unconstitutional conduct in support of a

  failure-to-train claim).

         Without any such evidence, Plaintiff can only claim failure to train based on the single, tragic

  incident involving Grote. As the Court noted in Miller, however, “a single act may establish

  municipal liability only where the actor is a municipal policymaker.” Id. Plaintiff offers no authority

  for the proposition that LPN Brand, an employee of the independently contracted medical authority,

  could be deemed a “policymaker” for the contracting entity Kenton County. See Hall v. Kenton

  County Kentucky, et al., 2022 WL 2442199 at *11 (E.D. Ky., July 2022-WOB).




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           Kenton County is thus entitled to summary judgment on plaintiff’s deliberate indifference

  claim.
                 B. State Law Claims


         Plaintiff’s response very narrowly claims that the individuals did not act in good faith, and

 for that reason, and that reason alone, immunity to the individuals should be denied. However,

 Plaintiff has not shown any facts which would support a finding of bad faith. To be sure, reliance on

 SHP to correctly diagnose Grote was not done in bad faith; the law requires it. Nor was the deputies’

 substantial compliance with the 20-minute observation requirement of KAR 3:060, section 2 (2)(c),

 undertaken in bad faith. See Rowan Cty. v. Sloas, 201 S.W.3d 469, 481 (Ky. 2006) (noting that bad

 faith would be shown if the public official “willfully or maliciously intended to harm the plaintiff or

 acted with a corrupt motive”) (citation omitted).

         In this case, the record establishes that deputies in booking have many duties and competing

 demands for their time during their shifts. Russell, p. 35-7. Video evidence shows that the 20-minute

 watch was delayed by a mere minute as other inmates were being moved from the Mile. Similarly,

 the 10–15-minute watch period requested by LPN Brand was adhered to in good faith. While not

 perfect, it was not done in bad faith, and internal procedure “is not a regulation from which

 negligence for violation should arise per se.” Flechsig v. United States, 991 F.2d 300, 304 (6th

 Cir.1993). LPN Brand’s watch period originated internally and there is no evidence that it was

 carried out in bad faith.

         III.    CONCLUSION

         For the foregoing reasons, summary judgment in favor of all the County Defendants is proper

 and should be granted.




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                                    Respectfully submitted:

                                    OFFICE OF THE KENTON COUNTY ATTORNEY
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                                    CERTIFICATION

         I hereby certify that a true and exact copy of the foregoing answer has been served
 electronically upon counsel of record using ECF.

                                    /s/ Christopher S. Nordloh
                                    Christopher S. Nordloh (85716)




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       Endnotes:

1. Grote did not advise anyone that he had “swallowed” drugs. Plaintiff Resp. -pg. 1-. Dr. Akpunonu’s report
   describes the various ways to “take” methamphetamine (as Grote said he had done) and none include swallowing it
   unless body-stuffing.

2. LPN Brand requested a watch every 10-15 min., rather than strictly every 10 min. Brand, p. 46-7, 91.

3. Grote is the only KCDC inmate to die from methamphetamine overdose where it has been alleged to be from lack of
   medical care. See 30(b)(6) designee Captain Smith, p. 82-3, 86-7.

4. Dep. Brown did not testify that Grote could not be photographed or fingerprinted. Instead, he described why he will
   sometimes wait until later in the shift to do so. Brown, p. 15-16

5. Brown did not testify that Grote’s agitation and shaking were progressing, only that he noticed that his sweating
   progressed during booking. Brown, p. 10

6. In July 2019, observation forms were used only for suicide watches, not detox watches. Smith at 50-1, 84-5.

7. Carl testified that he does not recall specific forms in use in 2019. The medical form for detox watches was not in
   use in 2019, and Plaintiff's insistence on revisiting that topic with Carl was objectionable under the parties’
   agreement. Carl, p. 32-8; parties’ agreement at R. 93.

8. Plaintiff’s assertion that the only record documenting contact with Grote after he was placed in cell B4 is the security
   patrol log is plainly incorrect. Overhead surveillance of the Mile is available throughout.

9. Carl did not testify that more records or video than what exists was required by KCDC policy or DOC standards.
   Carl testified that he read Captain Smith’s deposition and agreed with it. Carl, p. 30. BWC are required only if
   incidents occur, but generally only overhead cameras document when detox watches occur. Id. at 32-3. He did not
   testify that deputies should have been recording their watches on the Mile using BWC. Id. at 59-67.

10. Brown testified that he observed Grote sitting up when he moved the curtain to the side and first visually
    assessed him. This was at 4:50-51 on the video. Brown, p. 20-22. It is not in dispute that BWC shows Grote
    lying down during the initial medical assessment in B4.

11. Russell was not in booking when Brown made the decision to suspend booking, so he relied on Brown's discretion
    that the suspended booking was appropriate. Russell did not testify that he personally observed anything about
    Grote’s condition, or whether he could be fingerprinted and photographed that afternoon. He did not see him until
    the signal 6. Russell, p. 57, 83-4.

12. Russell did not testify that an observation form should have been used on Grote’s cell door. The predicate of the
    question was “if [the form] was in use in 2019 ”…", then that is what would happen. Russell, p. 92.

13. Russell did not testify that he would never call 911 unless medical told him to. Russell, p. 76-9.

14. Grote's urine, had it been tested by medical, would have shown only the presence of the drug that he had already
    admitted to using. But it would not have shown the quantity. Carl, p. 55-7.




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